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UNITED sTATEs DISTRICT coURT 05 °'°-
WESTERN DISTRICT 0F TENNESSEE ‘WG ~9 pH 3.
Western Division ° 55
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v ’ si,~ :"~»13 \.CT
WAYNE R. BLAKELEY, “"-'/D U=" g.t;~;_,g;HOF-EW
Piaintiff,
vs. No. 05cv2081-D/P
coMMERclAL ROOFING,
Defendant.

 

ORDER OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

 

COMES NOW the Plaintiff, Wayne R. Blakeley, by and through counsel, and hereby
dismisses the Plaintiff’s claim against the Defendant, without prejudice, pursuant to Rule 41(a)

of the Federal Rules of Civil Prooedure.

I'I` IS THEREFORE ORDRED, ADJUDGED, AND DECREED that the Plaintiff’s

claim against Defendant is hereby voluntarily dismissed Without prejudice.

 

 

 

   
 
 

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APPROVED FOR ENTRY:

lch§'el E/Latimore (20170)

Attomey for Plaintiff
202 Adams Avenue

Memphis, TN 38103
Phone: 901-526-6476
Fax: 901-523-7622

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02081 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

Michael Latimore

THE SKAHAN LAW FIRM
202 Adams Ave.

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

